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1    JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
2    801 I Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 498-5700
4    Attorney for Defendant
5
6
7                         IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,          ) No. 2:13-mj-00005-CKD
                                        )
12                   Plaintiff,         )
                                        ) WAIVER OF DEFENDANT’S PRESENCE
13        v.                            )
                                        )
14   JANE M. KESSELMAN,                 )
                                        )
15                   Defendant.         )
                                        )
16   _____________________________      )
17
18        Pursuant to Rule 43 of the Federal Rules of Criminal Procedure,
19   defendant, JANE KESSELMAN, hereby waives the right to be present in
20   person in open court upon the hearing of any motion or other proceeding
21   in this case, including, but not limited to, when the case is set for
22   trial, when a continuance is ordered, and when any other action is
23   taken by the court before or after trial, specifically, appearances for
24   any hearing regarding modification of conditions of supervised release,
25   except upon arraignment, plea, impanelment of jury and imposition of
26   sentence.
27         Defendant hereby requests the Court to proceed during every
28   absence which the Court may permit pursuant to this waiver; agrees that
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1    defendant’s interests will be deemed represented at all times by the
2    presence of the defendant’s attorney, the same as if defendant were
3    personally present; and further agrees to be present in court ready for
4    trial any day and hour the Court may fix in the defendant’s absence.
5         The defendant further acknowledges being informed of the rights
6    under Title 18 U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes
7    the defendant’s attorney to set times and dates under that Act without
8    defendant’s personal presence.
9         The original signed copy of this waiver is being preserved by the
10   attorney undersigned.
11   Dated:                                    /s/ Jane M. Kesselman
                                               JANE M. KESSELMAN
12                                             (Original retained by attorney)
13
14          I agree and consent to my client's waiver of appearance.
15
     Dated:                                     /s/ Linda C. Harter
16                                              LINDA C. HARTER
                                                Chief Assistant Federal Defender
17                                              Attorney for Defendant
18
19   IT IS SO ORDERED.
20   Dated: April 25, 2013
21                                                 _____________________________________
22                                                 CAROLYN K. DELANEY
                                                   UNITED STATES MAGISTRATE JUDGE
23
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25
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